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                                           March 14, 2024

  VIA CM/ECF
  The Honorable Rodney Gilstrap, U.S.D.J.
  Sam B. Hall, Jr. Federal Building and United States Courthouse
  100 East Houston Street
  Marshall, Texas 75670

          Re:     Display Technologies, LLC v. Sirius XM Radio Inc., No. 2:23-CV-00591-JRG;
                  Parties’ Joint Letter Regarding Necessity of Prior Claim Construction to Decide
                  Patent Eligibility Under 35 U.S.C. § 101

  Dear Judge Gilstrap:

          Plaintiff Display Technologies, LLC (“Display Technologies” or “DT”) and Defendant
  Sirius XM Radio Inc. (“Sirius” or “SXM”) (collectively, the “Parties”) respectfully submit this
  joint letter pursuant to the Court’s Standing Order Regarding Motions Under 35 U.S.C. § 101
  where each of the Parties outline their respective positions below.

          A table listing the Asserted Patents and the Asserted Claims appears below.

                                                                            Count No. in Complaint
          Asserted Patent                 Asserted Claims
                                                                                   (Dkt. 1)
     U.S. Patent No. 9,300,723              1, 3, 5, 6, 8, 9                            Count One
     (“the ’723 Patent”)

     U.S. Patent No. 8,671,195          1, 2, 3, 13, 17-19, 23                          Count Two
     (“the ’195 Patent”)
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       I.      Plaintiff Symbology’s Position

       In addition to the claim construction issue noted herein, there are a plethora of factual
   disputes the preclude resolution of this matter at the pleading stage. See Berkheimer v. HP, Inc.,
   881 F.3d 1360, 1368 (Fed. Cir. Feb. 2018) (“The question of whether a claim element or
   combination of elements is well-understood, routine and conventional to a skilled artisan in the
   relevant field is a question of fact that must be proven ‘by clear and convincing evidence.’”).
   Specifically, Display Technologies contends that at least the following phrase must be construed
   prior to the Court ruling on Sirius’ motion to dismiss (all intrinsic evidence citations are made
   with respect to Patent No. 9,300,723):


                                                   Patent/Claim      Preliminary Construction
            Disputed Term/Phrase                                      and Intrinsic Evidence
                                                     Numbers
   “a communication link . . . structured to                        “a communication link
   bypass at least one media terminal                               capable of bypassing at
   security measure”                                                least one security measure
                                                                    such that the transference of
                                                                    a media file between a
                                                 Pat. No. 9,300,723 media terminal and a media
                                                      1, 17, 23     node can occur regardless
                                                                    of whether the media node
                                                 Pat. No. 8,671,195 has independent access to
                                                          1         the interactive computer
                                                                    network.”

                                                                       Intrinsic Evidence:
                                                                       5: 17-25
                                                                       5: 37-44

          For example, Sirius argues that the claims are directed to the abstract idea of “transferring
  a digital media file.” See Sirius’ Motion to Dismiss (Dkt. No. 13) at 17. However, the
  communication link used for transferring the digital media file must be properly structured such
  that the transference can occur regardless of regardless of whether the media node has independent
  access to the interactive computer network. This proper structure includes the ability to bypass at
  least one security measure. Thus, a proper construction of the phrase “a communication link . . .
  structured to bypass at least one media terminal security measure” is required in order to not only
  evaluate the merits of Sirius’ “abstract concept” arguments, but also to evaluate the merits of Sirius’
  contention that the claims lack an inventive concept.

          Indeed, because Sirius’ motion is presented to the Court at the pleading stage, the Court is
  left with zero developed record from which it could possibly assess what was, and what was not,
  well-understood, routine, and conventional in the art as of December 2007, not to mention a lack of
  familiarity with the disclosures.

         Accordingly, Sirius’ motion is premature and should not be taken up until after claim
  construction has occurred in this case and the factual record as to the state of the prior art developed.
                                                     2
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  See Exergen Corp. v. KAZ USA, Inc., No. 2016-2315, 2018 WL 1193529 at *4 (Fed. Cir. March 8,
  2018) (“Something is not well- understood, routine, and conventional merely because it is disclosed
  in a prior art reference.”).

         II.     Defendant SXM’s Position

          DT fails to present a genuine dispute over whether claim construction is needed to resolve
  the patent eligibility challenge in SXM’s motion to dismiss (“MTD”). DT’s proposed construction
  impermissibly rewrites the claims to include an additional limitation and contradicts its prior
  position before this Court that no construction of the claim terms were needed for at least one of
  the Patents-in-Suit. But strictly for purposes of the MTD, SXM does not object to the Court
  adopting DT’s construction because the claims remain patent-ineligible as set forth in the MTD.
  Accordingly, there is no dispute over claim construction for the purposes of the MTD and the
  Court can, and should, find the claims invalid under Section 101 at this stage.

          DT’s Construction Improperly Introduces New Limitations Into The Claims. SXM’s
  position is that no claim terms require construction for purposes of the MTD. DT’s proposed
  construction is an improper attempt to rewrite the Asserted Claims to include new subject matter.
  The added phrase “such that the transference of a media file between a media terminal and a media
  node can occur regardless of whether the media node has independent access to the interactive
  computer network” does not appear in the Asserted Claims and it “is improper to import such a
  limitation into the claims if the claim language itself does not provide support for such a
  limitation.” Trinity Indus., Inc. v. Rd. Sys., Inc., 121 F. Supp. 2d 1028, 1042 (E.D. Tex. 2000).
  While SXM will explain in more detail at the appropriate time why the Court should reject DT’s
  attempt to import limitations, SXM is willing, solely for purposes of the instant motion, to accept
  this construction as the Patents-in-Suit remain invalid under section 101 for the reasons outlined
  in the MTD and summarized briefly below. Thus, there is no claim construction dispute for the
  Court to decide and the Court can rule on SXM’s MTD now. See, e.g., Aatrix Software v. Green
  Shades Software, 882 F.3d 1121, 1125 (Fed. Cir. 2018) (explaining that, if there are claim
  construction disputes at the 12(b)(6) stage, the Court may “proceed by adopting the non-moving
  party’s constructions”).1

         DT’s Proposed Construction Does Not Save the Patents-in-Suit From The MTD. DT’s
  proposed construction does not save its facially invalid claims because the claims are still directed
  to an abstract idea without an inventive concept. Regardless of whether the Court considers the
  claims as-is or with DT’s improper rewriting of them, the claims still do not recite how the
  communication link is “structured to bypass” any security measures (even when they include DT’s
  added limitation that the “transference of a media file between a media terminal and a media node
  can occur regardless of whether the media node has independent access to the interactive computer
  network”).


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    Unlike the one term presented in this letter, DT originally identified eleven terms potentially
  requiring construction, including terms not appearing in the claims. For example, DT originally
  identified “at least one interactive computer network, media file one media terminal, or one media
  node (Claim 1 723 patent)” as a term requiring construction, but that term does not appear in Claim
  1 of the ’723 Patent.
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          The rewriting of the claims merely adds one more functional condition that must be met,
  not a recitation for how to perform the functions recited in the claims. Indeed, DT fails to identify
  the “proper structure” or explain how that purportedly “proper structure” would perform the recited
  function. DT does nothing to take away from SXM’s arguments that the Asserted Claims are
  directed to an abstract idea of transferring a digital media file using commonplace, generic
  computing and networking devices working as one would expect them to work in their normal
  everyday usage. MTD at 16-20. And, whether the elements are read individually or as an ordered
  combination, they fail to provide the necessary “inventive concept” to transform the claims into a
  patent-eligible application of the abstract idea of transferring a digital media file. See In re TLI
  Commn’s LLC Patent Litig., 823 F.3d 607, 612-15 (Fed. Cir. 2016); see also MTD at 20-26. Even
  under DT’s construction, the claims still do not describe any “new” computer or networking
  technology, or any “new” improvement of same; instead, they merely use generic networked
  computers that “behave exactly as expected according to their ordinary use.” TLI, 823 F.3d at 615.
  Thus, the Patents-in-Suit remain patent ineligible even under DT’s proposed construction.

          DT’s Position Here Contradicts Its Prior Arguments Raised In This Court. DT has
  filed numerous actions in this and other federal courts asserting at least one of the two Asserted
  Patents. In one case before this Court, DT argued that the claim terms of the ’723 Patent do not
  require construction. See Display Techs. v. ZTE (USA), Civ. No. 2:17-00068, Dkt. No. 26 (stating
  that “there are no terms that require construction” with respect to the ’723 Patent). Similarly, in an
  inter partes review filed against the ’723 Patent, DT did not dispute that an explicit construction
  was not required for the invalidity analysis. See IPR2022-00230, Paper 1 at 23; see also IPR2022-
  00230 Institution Decision, Paper 6 at 10 (granting institution as to the ’723 Patent and finding
  that “no terms of the challenged claims require explicit construction”). This contradiction in DT’s
  current position confirms that DT’s proposed claim constructions are intended only to delay
  consideration of SXM’s MTD, rather than comprise a legitimate claim construction dispute.

          DT’s Additional Arguments Are Irrelevant. DT’s remaining arguments regarding
  factual disputes or the need to develop the record are irrelevant as they are unrelated to the claim
  construction dispute between the parties. Notably, DT fails to mention a single factual dispute or
  any development of the record that is needed for the Court to rule on the MTD now, as opposed to
  waiting for claim construction. Indeed, everything needed for the Court to rule on the MTD is in
  the Patents-in-Suit. If a substantive argument about additional facts is presented at some point,
  SXM will respond to such arguments at that time.




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  Respectfully submitted,

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